Entered: December 18th, 2018
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Signed: December 17th, 2018

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                    In re:   Case No.: 18−22014 − TJC    Chapter: 13

Scott A. Mason and
Grace K. Mason
Debtors

                          ORDER CONVERTING FROM CHAPTER 13
                    TO A CASE UNDER CHAPTER 7 ON DEBTOR(S)' REQUEST

Upon consideration of the motion/application of the Debtor(s) requesting conversion of this Chapter 13 case to a case
under Chapter 7 pursuant to 11 U.S.C. § 1307(a), it is, by the United States Bankruptcy Court for the District of
Maryland,

ORDERED, that this Chapter 13 is hereby converted to a case under Chapter 7 of the Bankruptcy Code; and

NOTICE is given to Debtor(s) to comply with the requirements of Federal Bankruptcy Rule 1019.



cc:    Debtor

       Attorney for Debtor − Ann Shaw
       Case Trustee − Robert S. Thomas II
       U.S. Trustee

                                                    End of Order
13x03 (rev. 11/07/2005) − jhutchinson
